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               EXHIBIT B
FILED: NEW YORK COUNTY CLERK 05/18/2018 06:01 PM                                              INDEX NO. 652301/2016
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

         AMBASE CORPORATION, 111 WEST 57TH
         MANAGER FUNDING LLC, and 111 WEST 57TH
         INVESTMENT LLC, on behalf of itself and                     Hon. Eileen Bransten
         derivatively on behalf of 111 WEST 57TH                     Index No. 652301/2016
         PARTNERS LLC,

                                         Plaintiffs,                 AFFIRMATION OF SERVICE
                 -against-

         111 WEST 57TH SPONSOR LLC, 111 WEST 57TH
         JDS LLC, PMG WEST 57TH STREET LLC, 111
         WEST 57TH CONTROL LLC, 111 WEST 57TH
         DEVELOPER LLC, 111 WEST 57TH KM EQUITY
         LLC, 111 WEST 57TH KM GROUP LLC, KEVIN
         MALONEY, MATTHEW PHILLIPS, MICHAEL
         STERN, NED WHITE, 111 CONSTRUCTION
         MANAGER LLC, PROPERTY MARKETS
         GROUP, INC., JDS DEVELOPMENT LLC, and
         JDS CONSTRUCTION GROUP LLC,

                                         Defendants,

         111 WEST 57TH PARTNERS LLC,

                                         Nominal Defendant.

                  HALEY N. PROCTOR, an attorney admitted to practice pro hac vice before the Courts

          of this State, hereby affirms the following under the penalties of perjury:

                    1.    I am an attorney at the law firm Cooper & Kirk, PLLC, attorneys for plaintiffs

          AmBase Corporation, 111 West 57th Manager Funding LLC, 111 West 57th Investment LLC,

          on behalf of itself and derivatively on behalf of 111 West 57th Partners LLC. As such, I am fully

          familiar with the facts set forth herein.

                    2.    On May 18, 2018, I served true copies of the SUPPLEMENTAL SUMMONS and

          THIRD AMENDED COMPLAINT (including exhibits) upon the attorneys for all parties to this

          action, by email to the following counsel:




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          Date: May 18, 2018
                                                                      /s/ Haley N. Proctor
                                                                      Haley N. Proctor




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